Case 2:03-Cr-20392-BBD Document 62 Filed 08/09/05 Page 1 of 2 Page|D 76

FILED B‘s' D,C,

IN THE UNITED STATES DISTRICT COURT
FOR THE WES'I`ERN DISTRICT OF TENNESSEE 05 AUG -9 PH 32 55

Western
THO?M M. GOLH.D
P*-." f .
UNITED STATES OF AMERICA, q£\;%%§ T?E§;Hcgm
Plaintiff,
vs. Case No. 2:03cr20392-D

Alphonso Carraway

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,
payable to Denise Woody at 6953 South Knoll, Millington, TN 38053 in full refund of the cash

appearance bond posted herein.

      

njted States strict Judge
Bernice B. Donald

Date: f"ap'€é;

Approved.

Tho M. Gould, Clerk Court
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Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:03-CR-20392 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

